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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )           4:09CR3091-2
                                               )
                      Plaintiff,               )
                                               )
       vs.                                     )           MEMORANDUM
                                               )           AND ORDER
JOBITA WILLETTA AVERY,                         )
                                               )
                      Defendant.               )

       Noting that a motion to reduce sentence due to the 2011 crack cocaine amendments
has been denied, further noting that a section 2255 motion has been denied, and noting
additionally that the Court of Appeals refused to grant a certificate of appealability regarding
the denial of the section 2255 motion,

       IT IS ORDERED that the Motion for Modification of Sentence (filing no. 302), the
Motion for a Transcript (filing no. 304), and the Motion to Proceed in Forma Pauperis (filing
no. 305) are denied.

       Dated February 5, 2014.

                                            BY THE COURT:

                                            Richard G. Kopf
                                            Senior United States District Judge
